                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                             Plaintiff,
                                                                   Case No. 06-CR-207
              -vs-

CHRISTOPHER A. PASKEL,
ANTHONY J. YATEMAN,
GARY A. KIRKSEY, DERRICK L.
BOHANNON, TOYA M. OLDS,
MICHELLE M. MAYS,
TERRILL E. CRAWFORD,
DAIDRA BROWN, and
CHAZMAR D. SPIVEY,

                             Defendants.


                                           ORDER


              The defendant, Daidra Brown (“Brown”), filed a Motion to Suppress statements made

in connection with the above-captioned case. Magistrate Judge Patricia J. Gorence has recommended

that Brown’s motion be denied.

              The Court has read the Recommendation, reviewed the record and read the

submissions, and rules as follows. The Court adopts the Magistrate Judge’s Recommendation and

the authority supporting it. Brown’s motion is DENIED.

       Dated at Milwaukee, Wisconsin, this 8th day of February, 2007.
                                               SO ORDERED,


                                                    s/ Rudolph T. Randa
                                                    HON. RUDOLPH T. RANDA
                                                    Chief Judge

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